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                          UNITED STATES DISTRICT COURT
                                 Western District of Texas
                                 Midland/Odessa Division

 John Overbey, individually and on            §
 behalf of all those similarly situated       §
                                              §
                  Plaintiff,                  §
                                              §     CA No: 7:20-cv-72
 v.                                           §
                                              §
 Portable Mud Systems, Inc.                   §     Collective Action
                                              §     Jury Demanded
                 Defendant                    §

                               COLLECTIVE ACTION COMPLAINT
         John Overbey (“Plaintiff”) brings this action individually and on behalf of all others

similarly situated against Portable Mud Systems, Inc. (“Defendant”) and in support shows the

Court the following:


1. STATEMENT OF THE CASE

      1.1. The federal Fair Labor Standards Act, 29 U.S.C. §201, et seq., (the “FLSA”) contains

          various rules regarding employee wages and working hours. Defendant violated these

          laws by failing to compensate employees at “time and one-half” their regular rate of pay

          for all overtime hours worked. This collective action seeks to recover damages and

          backpay to compensate all current and former employees of Defendant for these wage

          violations.

      1.2. The Plaintiff and the Collective Members, oil field mechanics, who were non-exempt oil

          field workers, were paid a salary without any allowance for overtime pay. This violates

          the FLSA.


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2. PARTIES, JURISDICTION, AND VENUE

  2.1. Plaintiff, a former employee of Defendant, is an individual and resident of the State of

      Texas. His notice of consent to sue is attached.

  2.2. Defendant is a Texas corporation that may be served with process by serving its

      registered agent: Brandon R. Westenburg, at 4958 Rustic Trail, Midland, Texas 79707.

  2.3. This Court has jurisdiction over the parties and subject matter of this action pursuant to

      29 U.S.C. §216(b) and 28 U.S.C. §1331.

  2.4. Venue is proper under 28 U.S.C. §1391(b).

3. FACTUAL BACKGROUND

  3.1. Defendant is an oilfield services company specializing in solids control for land-based oil

      and gas drilling operations; it does business in the territorial jurisdiction of this Court.

  3.2. Defendant employed Plaintiff as a mechanic from approximately February 2, 2018 to

      January 26, 2020.

  3.3. Plaintiff’s primary duties were nonexempt duties.

  3.4. As a mechanic, Plaintiff’ primary duties were to repair and replace drilling equipment in

      the oil and gas industry.

  3.5. Plaintiff’s primary duties did not include office or non-manual work.

  3.6. Plaintiff’s primary duties were not related to the management or general business

      operations of Defendant or its customers.

  3.7. Plaintiff’s duties did not differ substantially from the duties of traditionally nonexempt

      hourly workers.



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3.8. Plaintiff did not exercise a meaningful degree of independent discretion with respect to

        the exercise of his duties.

3.9. Plaintiff did not have the discretion or authority to make any decisions with respect to

        matters of significance.

3.10.          Instead, Plaintiff was required to follow the policies, practices and procedures set

        by Defendant.

3.11.          Plaintiff did not have any independent authority to deviate from these policies,

        practices, and procedures.

3.12.          Defendant paid Plaintiff on a salary basis.

3.13.          During Plaintiff’s employment with Defendant, he regularly worked in excess of

        forty hours per week.

3.14.          Defendant knew or reasonably should have known that Plaintiff worked in excess

        of forty hours per week.

3.15.          Defendant did not pay Plaintiff overtime “at a rate not less than one and one-half

        times the regular rate at which he [was] employed.” 29 U.S.C. § 207(a)(1).

3.16.          Instead, Defendant paid Plaintiff a fixed sum of money regardless of the number of

        hours he worked in a workweek.

3.17.          Defendant knew or reasonably should have known that Plaintiff was not exempt

        from the overtime provisions of the FLSA.

3.18.          Defendant failed to maintain accurate time and pay records for Plaintiff as required

        by 29 U.S.C. § 211(c) and 29 C.F.R. pt. 516.



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  3.19.        Defendant knew or showed a reckless disregard for whether its pay practices

      violated the FLSA.

  3.20.        Defendant is liable to Plaintiff for his unpaid overtime wages, liquidated damages

      and attorney’s fees and costs pursuant to 29 U.S.C. § 216(b).

4. COLLECTIVE ACTION ALLEGATIONS

  4.1. Plaintiff seeks certification of an FLSA “opt-in” collective action pursuant to 29 U.S.C.

      §216(b) for all claims asserted by Plaintiff because his claims are nearly identical to those

      of other Collective Members. Plaintiff and Collective Members are similarly situated,

      have substantially similar or identical job requirements and pay provisions, and were

      subjected to Defendant’s common practice, policy or plan regarding employee wages and

      hours.

  4.2. All mechanics employed by Defendant are similarly situated to Plaintiff because they (1)

      have similar job duties; (2) regularly work in excess of forty hours per week; (3) are not

      paid overtime for the hours they work in excess of forty per week as required by 29 U.S.C.

      § 207(a)(1) and (4) are entitled to recover their unpaid overtime wages, liquidated

      damages and attorneys’ fees and costs from Defendant pursuant to 29 U.S.C. § 216(b).

  4.3. Pending any modifications necessitated by discovery, Plaintiff preliminarily defines this

      Collective as follows:

      All mechanics of Defendant who were paid a salary and no overtime and who
      worked more than 40 hours in one or more individual workweeks beginning three
      years prior to the date of the filing of this lawsuit.


  4.4. Plaintiff’s experiences are typical of the experiences of the Collective Members.


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   4.5. The specific job titles or precise job locations of the various Collective Members do not

       prevent collective treatment.

5. FIRST CLAIM FOR RELIEF – Collective Action (Violation of the Fair Labor

   Standards Act, 29 U.S.C. §201, et seq.)

   5.1. Plaintiff incorporates by reference all of the above paragraphs.

   5.2. At all relevant times, Defendant has been, and continues to be, an “employer” within

       the meaning of the FLSA.

   5.3. Defendant is an enterprise engaged in interstate “commerce” and/or in the production

       of “goods” for “commerce” within the meaning of the FLSA.

   5.4. At all relevant times, Defendant has had gross annual volume of sales in excess of

       $500,000.

   5.5. At all relevant times, Defendant has employed, and continues to employ, non-exempt

       “employees,” including Plaintiff. Plaintiff consents to sue in this action pursuant to 29

       U.S.C. §216(b).

   5.6. Plaintiff was an employee of Defendant within the meaning of the FLSA.

   5.7. While employed by Defendant, Plaintiff was engaged in commerce or in the production

       of goods for commerce within the meaning of the FLSA. Plaintiff and the Collective

       Members specifically handled and used materials that traveled in interstate commerce

       such as oil field equipment.

   5.8. Two or more of Defendant’s employees engage in commerce by using equipment that has

       traveled in interstate commerce. By way of example and not by limitation, Defendant’s

       employees used/use:

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     5.8.1. oil field equipment that has been manufactured and shipped across state lines;

     5.8.2. computers and telecommunications equipment that has been manufactured and

           shipped across state lines;

     5.8.3. office equipment, such as copiers, that has been manufactured and shipped across

           state lines;

     5.8.4. the interstate telephone systems, landline and cellular, to recruit and employ

           individuals for operational positions;

     5.8.5. The United States postal system to send mail across state lines; and

     5.8.6.   the interstate banking systems to pay Defendant’s employees.

  5.9. As a result of the foregoing conduct, as alleged, Defendant has violated, and continues to

      violate, the FLSA, 29 U.S.C. §201, et seq. These violations were committed knowingly,

      willfully and with reckless disregard of applicable law.

  5.10.       As a result, Plaintiff and the Collective Members has been damaged in an amount

      to be determined at trial.

6. DOCUMENT PRESERVATION

  6.1. As part of discovery, Plaintiff will be requesting certain documents and information from

      Defendant. Please note the document preservation instructions attached hereto.

7. REQUEST FOR RELIEF

  7.1. WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in favor of

      himself and the Collective Members and against Defendant as follows:




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  7.1.1. Determining that the action is properly maintained as a collective action under the

       FLSA, certifying Plaintiff as the collective representative, and appointing Plaintiff’s

       counsel as counsel for the Collective Members;

  7.1.2. Ordering prompt notice of this litigation to all potential Collective Members;

  7.1.3. Awarding Plaintiff and Collective Members declaratory and/or injunctive relief as

       permitted by law or equity;

  7.1.4. Awarding Plaintiff and Collective Members their compensatory damages, service

       awards, attorneys’ fees and litigation expenses as provided by law;

  7.1.5.Awarding Plaintiff and Collective Members their pre-judgment, post-judgment and

       moratory interest as provided by law;

  7.1.6. Awarding Plaintiff and Collective Members liquidated damages and/or statutory

       penalties/interest as provided by law; and

  7.1.7. Awarding Plaintiff and Collective Members such other and further relief as the

       Court deems just and proper.




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                                 Respectfully submitted,

                                 By:    /s/ Chris R. Miltenberger
                                       Chris R. Miltenberger
                                       Texas Bar Number: 14171200

                                 The Law Office of Chris R.
                                 Miltenberger, PLLC
                                 1360 N. White Chapel, Suite 200
                                 Southlake, Texas 76092-4322
                                 817-416-5060 (office)
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                                 chris@crmlawpractice.com

                                 Attorney for Plaintiff




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                       DOCUMENT PRESERVATION INSTRUCTIONS


    Plaintiff will be requesting electronic and other documentary evidence during discovery in
this matter. This evidence will be of critical importance and Plaintiff wants to ensure that the
types of documentary and electronic evidence that will be requested the course of discovery are
preserved.
     As you may be aware, “[w]hen a lawyer who has been retained to handle a matter learns that
litigation is probable or has been commenced, the lawyer should inform the client of its duty to
preserve potentially relevant documents and of the possible consequences of failing to do so.”
Standard 10, Preservation of Documents, ABA Civil Discovery Standards (Aug. 2004). This duty
“applies to information stored in an electronic medium or format...” Id. at Standard 29.


   Various kinds of electronic and hard-copy data will be important in this lawsuit. The data
    Plaintiff anticipates will be relevant includes, but is not limited to, the following:

   The portions of any database or system maintained or used that contains time stamps or other
    data, including timesheets and telephone records, relating to the hours worked by Plaintiff
    and putative opt-in plaintiffs and/or class members as well as their pay;

   Emails and other electronic and hard-copy documents pertaining to Defendant’s decision to
    not pay the overtime premium.

   Emails and other electronic and hard-copy documents pertaining to Defendant’s reliance on
    department of labor authority when deciding not to pay the overtime premium.

   Emails and other electronic and hard-copy documents pertaining to any audit or investigation
    performed by the department of labor;

   Emails and other electronic and hard-copy documents pertaining to the job duties performed
    by Defendant’s employees, including Plaintiff;

   Emails and other electronic and hard-copy documents pertaining to the hours worked by
    Defendant’s employees, including Plaintiff;

   Emails sent and received by Plaintiff, putative opt-in plaintiffs or class members, and their
    managers/supervisors;



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   Emails and other electronic or hard-copy documents pertaining to Defendant’s compliance
    with the Fair Labor Standards Act and/or state laws; and

   Emails and other electronic or hard-copy documents pertaining to Plaintiff and all other
    current or former employees.


This data, including all associated metadata, must be preserved. Therefore, Plaintiff requests that
Defendant performs offline backups of any databases which contain information of the types
identified above. Plaintiff also requests that Defendant performs offline backups of all current
Microsoft Exchange (or other email) databases to external hard drives, preserving their native
format. These backups should be done routinely from this point forward.


The laws and rules prohibiting destruction of evidence apply to electronically stored information
in the same manner that they apply to other evidence. Therefore, Plaintiff requests that
Defendant takes every reasonable step to preserve this information until the final resolution of
this matter, and discontinue all data destruction activities, including but not limited to, backup
tape recycling policies, any automatic email deletion functions, and refrain from disposing of any
relevant hardware or data storage. In short, Plaintiff requests that the utmost care be taken in the
preservation of all relevant electronic data, including metadata.




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